                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ALABAMA
                                           DECATUR DIVISION

In re: EDWARDS, ALDEN R.                               §         Case No. 15-81172-CRJ7
                                                       §
                                                       §
                                                       §
                     Debtor(s)


                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Robert A. Morgan,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                         U.S. Bankruptcy Court Clerk
                                                400 Well Street
                                       Federal Bldg, Cain Street entrance
                                              Decatur, AL 35601

        Any person wishing to object to any fee application that has not already been approved or to the Final
Report, must file a written objection within 20 days from the mailing of this notice, serve a copy of the
objections upon the trustee, any party whose application is being challenged and the Bankruptcy Administrator.
A hearing on the fee applications and any objection to the Final Report will be held October 4, 2023 at I0:00 a.
m.

                                          United States Bankruptcy Court
                                          101 Holmes Ave
                                          Huntsville, Alabama 35801

         The hearing will be held in person with the opportunity for telephonic attendance. The call-in number is
1-877-336-1280, access code 2749965#. Other cases or matters may be scheduled for telephonic hearing at
the same time. Parties should call in five minutes prior to the start of the hearing. Once connected, please mute
your phone until your case is called. After your hearing is completed, please hang up to end your call. To avoid
disruption, telephonic hearing participants are expected to call from a quiet location and are not permitted to
use a "speaker" function or to place the call on hold. Participants are encouraged to call from a landline if
possible.

         THIS HEARING WILL TAKE PLACE IN PERSON WITH THE OPTION TO ATTEND BY
TELEPHONE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL INFORMATION (www.alnb.
uscourts.gov).



USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7            Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                     Desc Main
                                     Document    Page 1 of 10
Date Mailed:: 09/11/2023                        By:: /s/ ROBERT A. MORGAN, TRUSTEE
                                                                  TRUSTEE
Robert A. Morgan
Attorney at Law
1130 University Blvd, Suite B9, Box 632
TUSCALOOSA, AL 35401
(205) 561-9310




USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7          Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27     Desc Main
                                   Document    Page 2 of 10
                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ALABAMA
                                               DECATUR DIVISION

In re:EDWARDS, ALDEN R.                                       §      Case No. 15-81172-CRJ7
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         520,989.62
                   and approved disbursements of:                                    $                         222,736.63
                   leaving a balance on hand of1:                                    $                         298,252.99

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  4           Dennis Olive,          4,253,900.86                         0.00                        0.00               0.00
              Jr.

                                                  Total to be paid to secured creditors:          $                     0.00
                                                  Remaining balance:                              $               298,252.99

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - Robert A. Morgan                                               29,299.48              0.00      29,299.48
  Trustee, Expenses - Robert A. Morgan                                             231.25               0.00          231.25
  Attorney for Trustee Fees - Tazewell Shepard                                        0.00              0.00             0.00
  Attorney for Trustee, Expenses - SPARKMAN, SHEPARD &                            2,253.88        2,253.88               0.00
  MORRIS, P.C.
  Bond Payments - International Sureties, Ltd                                      324.79             324.79             0.00
  Bank Service Fees - Service and Technology Fees                                 4,401.49        4,401.49               0.00
  Attorney for Trustee Fees - SPARKMAN, SHEPARD &                             145,687.20       145,687.20                0.00
  MORRIS, P.C.


           1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest

      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7                Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                               Desc Main
                                         Document    Page 3 of 10
  Reason/Applicant                                                       Total            Interim        Proposed
                                                                     Requested        Payments to         Payment
                                                                                            Date
  Attorney for Trustee Fees (Other Firm) - ROBERT C.                  23,976.41         23,976.41            0.00
  GAMMONS, ESQ
  Attorney for Trustee Fees (Other Firm) - STUART M MAPLES            29,518.42         29,518.42            0.00
  Attorney for Trustee Expenses (Other Firm) - ROBERT C.                   70.76              70.76          0.00
  GAMMONS, ESQ
  Attorney for Trustee Expenses (Other Firm) - STUART M                   369.41             369.41          0.00
  MAPLES
  Accountant for Trustee Fees (Other Firm) - PAUL M                    8,478.15          8,478.15            0.00
  LINDREN, CPA

                Total to be paid for chapter 7 administrative expenses:                  $                29,530.73
                Remaining balance:                                                       $               268,722.26

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                Total              Interim          Proposed
                                                                  Requested          Payments to      Payment
                                                                                     Date

                                                     None

                Total to be paid for prior chapter administrative expenses:              $                     0.00
                Remaining balance:                                                       $               268,722.26

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                             Allowed Amount        Interim Payments                   Proposed
  No.                                                  of Claim                 to Date                   Payment

                                                     None

                                             Total to be paid for priority claims:       $                    0.00
                                             Remaining balance:                          $              268,722.26




USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7          Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                           Desc Main
                                   Document    Page 4 of 10
              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $4,894,776.80 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 5.5 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  1          Lamplight Capital & Asset                          0.00                    0.00                    0.00
             Management LLC
  2          Lamplight Capital & Asset                 3,917,959.90                     0.00            215,095.21
             Management LLC
  3          BancorpSouth Bank, a                        976,816.90                     0.00              53,627.05
             corporation
  5P         Department of the Treasury                         0.00                    0.00                    0.00

                     Total to be paid for timely general unsecured claims:                 $             268,722.26
                     Remaining balance:                                                    $                   0.00

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment

                                                         None

                     Total to be paid for tardily filed general unsecured claims:          $                        0.00
                     Remaining balance:                                                    $                        0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

                                                         None




USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7             Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                         Desc Main
                                      Document    Page 5 of 10
  Claim     Claimant                             Allowed Amount      Interim Payments              Proposed
  No.                                                   of Claim               to Date              Payment

                                                     None

                                           Total to be paid for subordinated claims: $                   0.00
                                           Remaining balance:                        $                   0.00




                                               Prepared By: /s/ ROBERT A. MORGAN, TRUSTEE
                                                                            Trustee
    Robert A. Morgan
    1130 University Blvd, Suite B9, Box 632
    TUSCALOOSA, AL 35401
    (205) 561-9310


                                          CERTIFICATE OF SERVICE

          I hereby certify that I have this day served a copy of the Notice of Trustee’s Final Report and
          Applications for Compensation and Deadline to Object (NFR) on all parties listed on the attached
          mailing matrix via U.S. mail with first-class postage prepaid.

          This the 11th day of September, 2023
                                                                   /s/ Robert A. Morgan




USBA Form 101-7-NFR (10/1/2010)




Case 15-81172-CRJ7           Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                    Desc Main
                                    Document    Page 6 of 10
Label Matrix for local noticing                 Adams Homes, LLC                         BancorpSouth Bank, a corporation
1126-8                                          c/o Benjamin S. Goldman, Esquire         c/o David Jones
Case 15-81172-CRJ7                              Hand Arendall LLC                        P.O. Box 940
NORTHERN DISTRICT OF ALABAMA                    2001 Park Place North                    Guntersville, AL 35976-0940
Decatur                                         Suite 1200
Wed Sep 6 14:35:21 CDT 2023                     Birmingham, AL 35203-2731
Lamplight Capital & Asset Management, LLC       U. S. Bankruptcy Court                   Adams Homes LLC
C/o Gwendolyn J. Godfrey                        400 Well Street                          c/o Andrew Jackson Sinor, Jr., Atty.
Bryan Cave LLP                                  P. O. Box 2775                           Hand Arendall, LLC
One Atlantic Center-14th Floor                  Decatur, AL 35602-2775                   2001 Park Pl, Ste 1200
1201 W. Peachtree Street, NW                                                             Birmingham, AL 35203-2731
Atlanta, GA 30309-3488
Anglin-Reichmann, Snellgrove & Armstrong        BB&T as Successor in Interest for        (p)BANCORPSOUTH
Attn: Bankruptcy Department                     Colonial Bank                            BANKRUPTCY DEPARTMENT
305 Quality Circle                              PO Box 5650                              P O BOX 4360
Huntsville, AL 35806-4542                       Montgomery, AL 36103-5650                TUPELO MS 38803-4360


BancorpSouth Bank                               BancorpSouth Bank, a corporation         Blossomwood Properties
c/o David Lee Jones                             c/o David Lee Jones                      c/o Gary Anglin
P.O. Box 940                                    P.O. Box 940                             1108 Fraser Ave
Guntersville, AL 35976-0940                     Guntersville, AL 35976-0940              Huntsville, Al 35801-2522


Blossomwood Properties LLC                      Blossomwood Properties, LLC              Burr & Forman, LLP
c/o Gary Anglin, Registered Agent               c/o G. Bartley Loftin, III, Atty.        3400 Wachovia Tower, 420 North 20th St.
1108 Fraser Avenue                              Bradley Arant Boult Cummings, LLP        Birmingham, AL 35203
Huntsville, AL 35801-2522                       200 Clinton Avenue West, Suite 900
                                                Huntsville, AL 35801-4900

CB&S Bank                                       (p)JPMORGAN CHASE BANK N A               Circa Property
4009 University Drive NW                        BANKRUPTCY MAIL INTAKE TEAM              c/o M.D. Plott
Huntsville, AL 35816-3003                       700 KANSAS LANE FLOOR 01                 500 Homewood Dr
                                                MONROE LA 71203-4774                     Huntsville, Al 35801-3433


Circa Property, LLC                             Classic Loader Services, Inc.            Compass Bank
Attn: James Peter Hess                          Attn: Bankruptcy Department              PO Box 192
200 Russell St NE                               7535-D Wall Triana Hwy                   Birmingham, AL 35201-0192
Huntsville, AL 35801-3602                       Madison, AL 35757-8339


David Lee Jones                                 Dennis Olive                             Dennis Olive, Jr.
P.O. Box 940                                    114 Intracoastal Drive                   c/o Michael P. Huff
Guntersville, AL 35976-0940                     Madison, AL 35758-9433                   Bradley Arant Boult Cummings LLP
                                                                                         200 Clinton Avenue West, Suite 900
                                                                                         Huntsville, AL 35801-4900

Dennis Olive, as Assignee of N AL Bank          Dennis Olive, as Assignee of N AL Bank   Department of the Treasury
114 Intracostal Drive                           c/o G. Bartley Loftin, III, Atty.        Internal Revenue Service
Madison, AL 35758-9433                          Bradley Arant Boult Cummings, LLP        P. O. Box 7346
                                                200 Clinton Avenue West, Suite 900       Philadelphia, PA 19101-7346
                                                Huntsville, AL 35801-4900

Don Armstrong, Property Tax Commissioner        Eddiie Beason Jr.                        (p)WACHOVIA BANK NA
of Shelby County                                PO Box 818                               MAC X2303-01A
102 Depot Street                                Russellville, AL 35653-0818              1 HOME CAMPUS
Columbiana, AL 35051-9332                                                                1ST FLOOR
                                                                                         DES MOINES IA 50328-0001
             Case 15-81172-CRJ7             Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27             Desc Main
                                                   Document    Page 7 of 10
Foley Products Company                         G. Bartley Loftin, III                   G. Bartley Loftin, III, Esq.
Attn: Bankruptcy Department                    200 Clinton Ave. West. Ste 900           Bradley Arant Boult Cummings, LLP
P.O. Box 7877                                  Huntsville, Al 35801-4933                200 Clinton Avenue West, Ste 900
Columbus, GA 31908-7877                                                                 Huntsville, AL 35801-4933


GET Properties LLC c/o Thomas Garrett          Geo Solutions, LLC                       Get Properties
Attn: Walter Arthur Dodgen, Jr.                Attn: Bankruptcy Department              c/o Thomas Garrett
Maynard, Cooper & Gale, P.C.                   P.O. Box 11488                           100 Church Street
655 Gallatin Street                            Huntsville, AL 35814-1488                Huntsville, Al 35801-4954
Huntsville, AL 35801-4901

Harbaugh & Sons Construction Co., Inc.         Harbaugh & Sons Construction Co., Inc.   Invictus, LLC
507 Cleveland Ave NW                           c/o Fees & Burgess, P.C.                 Attn: Michael Paul Killian, Atty.
Huntsville, AL 35801-5806                      213 Green Street                         Leo Law, LLC
                                               Huntsville, AL 35801-4806                200 Randolph Avenue
                                                                                        Huntsville, AL 35801-4874

Invictus, LLC                                  Invictus, LLC                            James Hiley
Attn: Michael Paul Killian, Esq.               c/o James Harrison                       c/o Gregory H. Revera, Atty.
Harrion, Gammons & Rawlinson, P.C.             2430 L & N Drive                         200 Randolph Avenue
2430 L & N Drive                               Huntsville, Al 35801-5326                Huntsville, AL 35801-4874
Huntsville, AL 35801-5326

James P. Hess, Esq.                            Jesse S. Vogtel Jr.                      John R. Lehman II
200 Russell Street NE                          P.O. Box 306                             3400 Wachovia Tower
Huntsville, Al 35801-3602                      Birmingham, AL 35201-0306                420 North 20th Street
                                                                                        Birmingham, AL 35203-5200


Kathy R. Davis, Esq                            Kelly EcoSource, LLC                     Lamplight Capital & Asset Management LLC
for Saiia Construction                         Attn: Bankruptcy Department              Bryan Cave LLP/Gwendolyn Godfrey, Atty
Carr Allison                                   106 Alice Lane                           One Atlantic Center-14th Floor
100 Vestavia Parkway                           Athens, AL 35611-4677                    1201 W. Peachtree Street 14th Floor
Birmingham, Al 35216-7713                                                               Atlanta, GA 30309-3488

Lamplight Capital & Asset Management LLC       M. Paul Killian, Esq.                    Mortgage Investments/Mercury Funding LLC
C/o Jeffrey M. Horton                          2430 L & N Drive                         c/o Fulton Hamilton
10375 Richmond Avenue, Suite 1010              Huntsville, Al 35801-5326                PO Box 18545
Houston, TX 77042-4693                                                                  Huntsville, AL 35804-8545


North Alabama Bank                             North Alabama Bank                       North Alabama Bank
Attn: Bankruptcy Department                    PO Box 669                               c/o Bill Gibbons, Atty.
P.O. Box 669                                   Hazel Green, AL 35750-0669               Gibbons & Furman
Hazel Green, AL 35750-0669                                                              117 Jefferson Street North
                                                                                        Huntsville, AL 35801-4813

North Alabama Bank                             OMI, Inc.                                Old Ivey Homeowners Assoc, Inc. et al
c/o William Gibbons, Esq.                      Attn: Bankruptcy Department              c/o Gregory H. Revera, Atty.
117 Jefferson Street, N.                       5151 Research Dr., NW                    200 Randolph Avenue
Huntsville, AL 35801-4813                      Huntsville, AL 35805-5911                Huntsville, AL 35801-4874


Old Ivey Homeowners Assoc, Inc. et al          Olive Properties                         PNC Bank as sucessor & interest
c/o Gregory H. Revera, Atty.                   c/o Gary Anglin                          to RBC Bank
200 Randolph Avenue Ste 200                    1108 Fraser Ave                          100 Church Street
Huntsville, AL 35801-4899                      Huntsville, Al 35801-2522                Suite 200
                                                                                        Huntsville, AL 35801-4955
             Case 15-81172-CRJ7            Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27             Desc Main
                                                  Document    Page 8 of 10
Paul M. Lindgren, CPA                                R.P. Bradley Construction, Inc.                      RBC
PO Box 2588                                          Attn: Bankruptcy Department                          Attn: Bankruptcy Department
Huntsville, AL 35804-2588                            7 Monroe Drive                                       100 Church Street
                                                     Pelham, AL 35124-6152                                Huntsville, AL 35801-4955


RBC Bank                                             RBC Real Estate Finance, Inc.                        Regions Bank
c/o Burr & Forman, LLP                               Attn: Bankruptcy Department                          Attn: Bankruptcy Department
420 North 20th Street                                10375 Richmond Ave                                   200 Clinton Avenue W.
Suite 3400                                           Houston, TX 77042-4143                               Huntsville, AL 35801-4947
Birmingham, AL 35203-5210

Regions Bank                                         Regions Bank                                         Robert C. Gammons, Esq.
PO Box 681                                           c/o Ryan Cochran, Atty.                              Harrison, Gammons & Rawlinson PC
Birmingham, AL 35201-0681                            511 Union Street Suite 2700                          P.O. Box 19008
                                                     Nashville, TN 37219-1791                             Huntsville, AL 35804-9008


S&ME                                                 Saiia Construction                                   Saiia Construction, LLC
Attn: Bankruptcy Department                          c/o Joseph Saiia                                     Attn: Bankruptcy Department
P.O. Box 651399                                      2881 Shannon Oxmoor Rd                               P.O. Box 748
Charlotte, NC 28265-1399                             Birmingham, Al 35211-5964                            Columbus, GA 31902-0748


Sparkman, Shepard & Morris, PC                       Stuart M Maples, Esq.                                Vulcan Materials Company
PO Box 19045                                         Special Counsel                                      Attn: Bankruptcy Department
Huntsville, AL 35804-9045                            200 Clinton Avenue West, Ste 1000                    Drawer 0344
                                                     Huntsville, AL 35801-4919                            P.O. Box 11407
                                                                                                          Birmingham, AL 35246-0344

Waller Lansden Dortch & Davis                        Walter Dodgen, Jr. Esq.                              William Gibbons, Esq.
S Wallace                                            655 Gallatin St. SW                                  Gibbons & Furman
1901 6th Avenue North                                Huntsville, Al 35801-4936                            117 Jefferson Street, N.
Suite 1400                                                                                                Huntsville, AL 35801-4813
Birmingham, AL 35203-4605

Alden R. Edwards                                     Kevin D. Heard                                       Mickey Fowler
P.O. Box 2084                                        Heard, Ary & Dauro, LLC                              Fowler Acution and Real Estate Services
Huntsville, AL 35804-2084                            303 Williams Avenue SW                               8710 Highway 53
                                                     Park Plaza Suite 921                                 Toney, AL 35773-9151
                                                     Huntsville, AL 35801-6012

Paul M Lindgren                                      Richard M Blythe                                     Robert A. Morgan
PO Box 2588                                          United States Bankruptcy Administrator               Robert A. Morgan, Attorney at Law
Huntsville, AL 35804-2588                            PO Box 3045                                          1130 University Blvd, Suite B9, Box 632
                                                     Decatur, AL 35602-3045                               Tuscaloosa, AL 35401-0328


Robert C. Gammons                                    Stuart M Maples
Harrison, Gammons & Rawlinson PC                     Maples Law Firm
PO Box 19008                                         200 Clinton Ave. West, Ste. 1000
Huntsville, AL 35804-9008                            Huntsville, AL 35801-4919




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).

             Case 15-81172-CRJ7              Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                             Desc Main
                                                    Document    Page 9 of 10
Bancorp South                                          (d)Bancorpsouth Bank                                 Chase Marriott Visa
PO Box 789                                             Attn: Bankruptcy Department                          Attn: Bankruptcy Department
Tupelo, MS 38802                                       1301 Gunter Ave                                      P.O. Box 94014
                                                       Guntersville, AL 35976                               Palatine, IL 60094-4014


(d)Chase Southwest Visa                                First American Bank
Attn: Bankruptcy Department                            Attn: Bankruptcy Department
P.O. Box 15298                                         P.O. Box 2203
Wilmington, DE 19850-5298                              Decatur, AL 35609




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Alabama Pinnacle                                    (u)Ashbury                                           (d)Dennis Olive
                                                                                                            114 Intracoastal Drive
                                                                                                            Madison, Al 35758-9433



(u)Edward Specialties Inc.                             (u)Edwards Specialties                               (u)LDI Reproprinting Centers
                                                                                                            Attn: Bankruptcy Deapartment
                                                                                                            1851 Cahaba River Road Suite 113
                                                                                                            AL 35423


(u)Land Specialties                                    (u)Stillwater Whitt                                  (d)Dennis Olive Jr.
                                                                                                            c/o Michael P. Huff
                                                                                                            Bradley Arant Boult Cummings LLP
                                                                                                            200 Clinton Avenue West
                                                                                                            Suite 900
                                                                                                            Huntsville, AL 35801-4933
End of Label Matrix
Mailable recipients      85
Bypassed recipients       9
Total                    94




             Case 15-81172-CRJ7                Doc 261 Filed 09/11/23 Entered 09/11/23 16:12:27                             Desc Main
                                                     Document     Page 10 of 10
